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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,                     )
                                               )
                       Plaintiff,              )
                                               )    C.A. No. 1:19-cv-01022-RGA
       v.                                      )
                                               )
METHODE ELECTRONICS, INC.,                     )
                                               )
                       Defendant.              )


                      NOTICE OF DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations LLC, pursuant to Rule 41(a) of the Federal Rules of

Civil Procedure, herby provides notice that it dismisses WITH PREJUDICE all claims this

cause of action against Defendant Methode Electronics, Inc. Each party shall bear its own

costs, expenses, and attorneys’ fees.


Dated: August 12, 2019                      Respectfully submitted


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                                   Attorney(s) for Plaintiff Symbology Innovations,
                                   LLC.


      SO ORDERED.


Dated:___________________          ____________________       __________
                                   Honorable Richard G. Andrews
                                   U.S. District Judge




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